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                          No. 23-50885
 _______________________________________________________________

        IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT
                  ________________________

                UNITED STATES OF AMERICA, et al.,
                                        Plaintiffs-Appellees,
                              v.
                WARREN KENNETH PAXTON, et al.,
                                         Defendants-Appellants.
                   ________________________

    On Appeal from the United States District Court for the
       Western District of Texas, San Antonio Division
                   ________________________

    REPUBLICAN PARTY APPELLANTS’ REPLY BRIEF IN
      SUPPORT OF DEFENDANTS’ MOTION TO STAY
                ________________________

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                      Congressional Committee
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              CERTIFICATE OF INTERESTED PERSONS

No. 23-50885, United States of America, et al. v. Warren Kenneth
                         Paxton, et al.

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Fifth Circuit

Local Rule 28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this Court may

evaluate possible disqualification or recusal.

     1.       Defendants-Appellants:

          • Ken Paxton, Attorney General, State of Texas
          • Jane Nelson, in her official capacity as Texas Secretary of
            State
          • State of Texas

     2.       Counsel for Defendants-Appellants:

          •   Aaron Lloyd Nielson
          •   Kathleen Theresa Hunker
          •   Ryan Glen Kercher
          •   Lanora Christine Pettit
          •   William D. Wassdorf

     3.       Intervenors-Appellants:

          •   Harris County Republican Party
          •   Dallas County Republican Party
          •   Republican National Committee
          •   National Republican Senatorial Committee
          •   National Republican Congressional Committee

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4.       Counsel for Intervenors-Appellants:

     •   John M. Gore
     •   E. Stewart Crosland
     •   Louis J. Capozzi III
     •   Ryan M. Proctor
     •   Jones Day

5.       Defendants Not Party to this Appeal:

     • Gregory W. Abbott, in his official capacity as Governor of
       Texas
     • Jose A. Esparza, in his official capacity as Deputy Secretary
       of the State of Texas
     • Lupe C. Torres, in her official capacity as Medina County
       Elections Administrator
     • Lisa Wise, in her official capacity as the El Paso County
       Elections Administrator
     • Kim Ogg, Harris County District Attorney
     • Joe Gonzales, Bexar County District Attorney
     • Jose Garza, Travis County District Attorney
     • John Creuzot, Dallas County District Attorney
     • Ricardo Rodriguez, Jr.
     • Yvonne Rosales, in her official capacity as El Paso County
       District Attorney
     • Rebecca Guerrero
     • Teneshia Hudspeth, Harris County Clerk, in her official
       capacity
     • Dyana Limon-Mercado
     • Isabel Longoria, Harris County Elections Administrator
     • Jacque Callanen, in her official capacity as Elections
       Administrator of Bexar County
     • Yvonne Ramon, in her official capacity as the Hidalgo
       County Elections Administrator
     • Michael Scarpello, in his official capacity as the Dallas
       County Elections Administrator
     • Dana DeBeauvoir, in her official capacity as the Travis
       County Clerk
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    6.        Plaintiffs-Appellees:

          •   United States of America
          •   OCA-Greater Houston
          •   League of Women Voters of Texas
          •   REVUP-Texas

    7.        Counsel for Plaintiff-Appellee United States of America:

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          • Tovah Calderon
          • Daniel Joshua Freeman

    8.        Counsel for Plaintiffs-Appellees OCA-Greater Houston,

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          •   Brian Dimmick
          •   Andre Segura
          •   Jenner & Block, L.L.P.
          •   American Civil Liberties Union Foundation
          •   American Civil Liberties Union
          •   American Civil Liberties Union of Texas

     9.       Plaintiffs Not Party to the Appeal:

          •   Mi Familia Vota
          •   Marlon Lopez
          •   Marla Lopez
          •   Paul Rutledge
          •   Houston Area Urban League
          •   Delta Sigma Theta
          •   Arc of Texas
          •   Jeffrey Clemmons
          •   La Union del Pueblo Entero
          •   Friendship-West Baptist Church
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      • Anti-Defamation League Austin, Southwest, and Texoma
        Regions
      • Southwest Voter Registration Education Project
      • Texas Impact
      • Mexican American Bar Association of Texas
      • Texas Hispanics Organized for Political Education
      • Jolt Action
      • William C. Velasquez Institute
      • FIEL Houston Inc.
      • James Lewin
      • LULAC Texas
      • Voto Latino
      • Texas Alliance for Retired Americans
      • Texas AFT


Dated: December 12, 2023         Respectfully submitted,

                                 /s/ John M. Gore

                                 Counsel of Record for
                                 Intervenors-Appellants




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                            INTRODUCTION

      The United States’ and OCA Plaintiffs’ oppositions confirm that

their novel and sweeping interpretation of the Civil Rights Act’s

Materiality Provision is meritless. This Court should stay the District

Court’s injunction and allow Texas’s duly enacted election laws to remain

in effect.

                              ARGUMENT

      As this Court previously suggested, the Materiality Provision

applies “to only voter registration specifically,” not the act of requesting

or submitting a mail-in ballot. Vote.Org v. Callanen, 39 F.4th 297, 306

n.6 (5th Cir. 2022). Accordingly, SB 1’s commonsense regulation of mail-

in voting does not even implicate, let alone violate the Materiality

Provision, and the Court should enter a stay. See Republican Party

Appellants’ Brief In Support Of Emergency Motion To Stay 1-14 (Dkt.

No. 37) (“Stay Br.”).

      The United States and the OCA Plaintiffs variously offer four main

arguments to avoid this conclusion. All contradict the plain statutory

text and would transform the narrow Materiality Provision into a




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sweeping judicial mandate to invalidate scores of longstanding,

commonsense election laws.

   A. The Materiality Provision Covers Only Voter Registration
      Materials.

     The Materiality Provision applies only to an “application,

registration, or other act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B);

see Stay Br. 5-9. Neither the United States nor the OCA Plaintiffs contest

that the terms “application” and “registration” refer only to the act of

voter registration. See Plaintiffs’ Resp. To Def.’s Emergency Motion To

Stay 16-17 (Dkt. No. 47) (“OCA Opp.”). 1 OCA Plaintiffs instead claim

that the catchall phrase “other act requisite to voting” is not limited by

the ejusdem generis canon because it begins with the word “any.” Id. at

17 (citing Ali v. BOP, 552 U.S. 214, 225 (2008)).

     This purported exception to ejusdem generis does not exist. Courts

regularly apply the canon to phrases containing the term “any.” See, e.g.,



     1 The  Republican Party Appellants address the arguments the
United States makes in its opposition. To the extent the United States
incorporates by reference arguments it has made elsewhere, see United
States’ Opp. to Defs.-Appellant’s Emergency Motion To Stay 18 n.6 (Dkt.
No. 43) (“U.S. Opp.”), the Republican Party Appellants responded to
them in their summary judgement reply brief below, see ECF No. 663 at
1-12.
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Circuit City Stores v. Adams, 532 U.S. 105, 109 (2001); Arcadia v. Ohio

Power Co., 498 U.S. 73, 77-78 (1990); McBoyle v. United States, 283 U.S.

25, 26 (1931) (Holmes, J.); A. Scalia & B. Garner, Reading Law: The

Interpretation of Legal Texts 200-02 (2012) (citing with approval several

cases applying the canon to phrases including “any”). Ali is not to the

contrary. The Court there found ejusdem generis inapplicable because

the phrase at issue did not consist of “a list of specific items separated by

commas and followed by a general or collective term,” not because it

included “any.” 552 U.S. at 225; see Scalia & Garner, supra, at 206-07

(explaining ejusdem generis did not apply in Ali because there were not

“at least two words to establish a genus … before the other phrase”).

     Nor does application of ejusdem generis make the catchall

superfluous. This phrase helps prevent state and local election officials

from circumventing the Materiality Provision based on labeling:

Referring to a qualification-determining practice as something other

than a voter “application” or “registration” does not liberate such officials

to disqualify voters for immaterial paperwork “error[s] or omission[s].”

52 U.S.C. § 10101(a)(2)(B). In addition, the phrase may cover any forms

citizens must submit to remain registered to vote besides initial


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applications and registrations, such as a declaration by a released felon

that he has paid all outstanding fines or by an inactive voter that she

continues to reside at her registered address.

     In contrast, Plaintiffs’ reading would make “application” and

“registration” utterly superfluous, since they would be subsumed by the

catchall. See U.S. Opp. 14-15 (reading the catchall to refer to all “voting-

related paperwork”); OCA Opp. 6 (same). The Court should not read

these essential words out of the Materiality Provision. See, e.g., Freeman

v. Quicken Loans, Inc., 566 U.S. 624, 635 (2012).

   B. The Materiality Provision Applies Only to Voter Qualification
      Determinations.

     The Materiality Provision only covers records used “in determining”

the voter’s qualifications. 52 U.S.C. § 10101(a)(2)(B); see Stay Br. 9-12.

The OCA Plaintiffs claim instead that the Provision prohibits any paper-

based error “‘not material’ to determining a voter’s qualifications.” OCA

Opp. 18 (emphasis added). This formulation, however, swaps out the key

statutory term “in” for the very different word “to.” See Ball v. Chapman,

289 A.3d 1, 38 (Pa. 2023) (opinion of Brobson, J.) (“[I]t is not enough that

the error or omission be immaterial to whether the individual is qualified

to vote; the paper or record must also be used ‘in determining’ the voter’s

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qualifications.”). Plaintiffs make no attempt to grapple with the meaning

of “in,” which in this context is equivalent to “when.” See Stay Br. 9.

     Plaintiffs also fail to engage with statutory structure, which

reinforces this reading. The OCA Plaintiffs ignore the subparagraph

before the Materiality Provision, which uses a substantially identical “in

determining” phrase to introduce a provision that clearly applies only to

voter-qualification determinations. 52 U.S.C. § 10101(a)(2)(A); see OCA

Opp. 19 n.7. They also bizarrely claim that there is “no support” for the

assertion that subparagraph (C)’s prohibition on “literacy test[s] as a

qualification for voting,” 52 U.S.C. § 10101(a)(2)(C) (emphasis added), is

limited to the voter-qualification context, OCA Opp. 19 n.7.2 For its part,

the United States previously admitted that both of the Materiality

Provision’s neighboring subparagraphs are limited to voter-qualification

determinations, but it never explained why Congress would cram a

sweeping regulation of all “voting-related paperwork” between them. See



     2 As for why the prohibition on literacy tests applies only to voter

qualification, “a page of history is worth a volume of logic.” N.Y. Tr. Co.
v. Eisner, 256 U.S. 345, 349 (1921). In the 1960s, southern states used
literacy tests as part of the voter-registration process, e.g., Lassiter v.
Northampton Cnty. Bd. of Elections, 360 U.S. 45, 46 (1959), so Congress
adopted a remedy that fit the evil it sought to address.
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ECF No. 637 at 21. And none of the Plaintiffs have any explanation, on

their construction of the Materiality Provision, for why subsection (e)’s

remedy for a violation of “any right … secured by subsection (a)” is a

declaration that the individual is qualified to vote. 52 U.S.C. § 10101(e)

(emphasis added); see Stay Br. 11-12.

   C. The Materiality Provision Prohibits Only the Denial of the Right
      to Vote.

     The Materiality Provision only prohibits the “den[ial]” of “the right

… to vote.” Id. § 10101(a)(2)(B); see Stay Br. 12-14. Although the United

States and the OCA Plaintiffs emphasize the broad definition of the term

“vote,” they ignore the well-established meaning of the “right … to vote.”

Stay Br. 12-14 (emphasis added).           The application of evenhanded,

mandatory state voting rules that regulate how individuals cast their

ballots do not “disenfranchise” anyone or deny anyone the right to vote,

even when such rules require election officials to decline to count a

noncompliant ballot. See, e.g., Rosario v. Rockefeller, 410 U.S. 752, 757

(1973); DNC v. Wis. State Legislature, 141 S. Ct. 28, 35 (2020)

(Kavanaugh, J., concurral). (“[A] State’s election [rule] does not




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disenfranchise voters who are capable of [following it] but fail to do so.”);

Ritter v. Migliori, 142 S. Ct. 1824, 1825 (2022) (Alito, J., dissental).3

     The United States argues SB 1’s mail ballot identification rules

disenfranchise voters because Texas’s voter-registration database

contains errors.      See U.S. Opp. 15.          To start, database errors are

commonplace and unavoidable, e.g., Husted v. A. Philip Randolph Inst.,

138 S. Ct. 1833, 1838 (2018), and the United States cites no case

suggesting that a state cannot administer election rules merely because

its database contains some errors. Further, SB 1 provides extensive

notice-and-cure remedies for noncompliant ballots, with multiple curing

options and the ability to vote in-person. See S.B. 1 §§ 5.06, 5.07, 5.10

(Internet curing option), 5.12 (allowing curing for six days after Election

Day), 5.14.      Beyond that, election officials throughout Texas have

successfully encouraged voters to correct erroneous voter registration

records by filing new voter registration applications. See State Ex. A at



     3  The OCA Plaintiffs misleadingly cite Schwier v. Cox for the
proposition that the Materiality Provision “prohibits states from
‘requiring unnecessary information’ on voting-related paperwork.” OCA
Opp. 7 (quoting 340 F.3d 1284, 1294, 1297 (11th Cir. 2003)). In reality,
Schwier is clear that the Provision covers only “disqualifying potential
voters” based on immaterial errors. 340 F.3d at 1294.
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9. And in any event, an individual unable to vote in one election due to

a database error is not “disqualif[ied]” from voting on equal terms—either

in person or by mail after submitting an accurate voter registration—

with other voters in future elections. Schwier, 340 F.3d at 1294. Thus,

any such individual has not been denied “the right to vote” within the

meaning of the Materiality Provision. Id. at 129-45.

       Nor does the statutory reference to voting “in any election” change

matters. See OCA Opp. 19 n.7. A successfully qualified voter does have

the right to vote in any election. E.g., Schwier, 340 F.3d at 1294. And the

Materiality Provision’s neighboring subparagraphs likewise protect

voting “in any election,” 52 U.S.C. § 10101(a)(2)(A), (C), but they clearly

protect only an individual’s right to be deemed qualified to vote, supra at

4-6.

   D. Plaintiffs’ Reading Would Invalidate Many Longstanding,
      Commonsense Election Laws.

       On Plaintiffs’ telling, in 1965, Congress disabled the states from

pursuing any interest in regulating elections through paper-based

requirements other than determining voter eligibility. OCA Opp. 7; U.S.

Opp. 13-15. Republican Party Appellants have already identified several

longstanding state election laws that will be on the chopping block if

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Plaintiffs’ interpretation of the Materiality Provision is correct, including

mail-ballot signature requirements, mail-ballot date requirements,

overvote prohibitions, pollbook-maintenance requirements, and voter-

assistance-form requirements. See Stay Br. 17. A comprehensive review

of state electoral codes would undoubtedly reveal more laws for the

chopping block—like requirements that witnesses sign mail ballots. E.g.,

Andino v. Middleton, 141 S. Ct. 9, 9-10 (2020) (permitting enforcement of

South Carolina’s witness requirement).

     In response, both the United States and the OCA Plaintiffs add

atextual epicycles to their reading of the Provision in an attempt to blunt

its radical and disruptive consequences. None is persuasive.

     The United States claims that “[a]nti-fraud measures like voter-ID

or signature-matching requirements can be material,” but only if they are

truly “needed for this purpose.” U.S. Opp. 15-16. But “prevention of

fraud” has traditionally been understood to be a distinct interest from

determining eligibility.   Smiley v. Holm, 285 U.S. 355, 366 (1932).

Rather, as the OCA Plaintiffs rightly recognize, even the most necessary

voter-ID laws are not material to determining eligibility, because neither

Texas nor any other state makes “possessing a particular ID number” a


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criterion for voter eligibility. OCA Opp. 18 n.6. If Plaintiffs are right

about the scope of the Materiality Provision, anti-fraud laws for mail

voting must go.

     But even if the United States were correct that “necessary” anti-

fraud laws counted as material, the Materiality Provision would still

effect an astonishing transfer of legislative authority from state

legislatures to federal courts. Determining whether anti-fraud measures

are “necessary” inherently requires a policy judgment as to the relative

costs of allowing fraud to go undetected and imposing compliance

burdens on honest voters—a quintessentially legislative question. Cf.

Brnovich v. DNC, 141 S. Ct. 2321, 2348 (2021) (rejecting Ninth Circuit’s

attempt to second-guess state legislature’s decision to enact anti-fraud

rules). Yet, if the United States is to be believed, nearly 60 years ago,

Congress meant for courts to exercise that judgment with nothing to

structure their inquiry other than the vague word “material.”

     For their part, the OCA Plaintiffs claim that the Materiality

Provision does not invalidate overvote prohibitions, because the “ballot

itself” is not a paper relating to an act requisite to voting. OCA Opp. 12.




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But if Plaintiffs are right that the Provision covers all “voting-related

paperwork,” see id. at 6, that is clearly incorrect.

      The OCA Plaintiffs also assert without explanation that,

“depending on the circumstances, a signature requirement could be

considered material to determining whether a voter is qualified to vote.”

OCA Opp. 12.       Completing a signature is not a criterion for voter

eligibility in any state, however. Id. at 18 n.6. And even if OCA Plaintiffs

are right, that a fact-intensive, case-by-case analysis is needed to know

whether requiring something as banal as signing one’s ballot amounts to

a federal civil rights violation itself suffices to show the absurdity of

Plaintiffs’ position.

      Unable to disguise the radical implications of their revisionist

Materiality Provision, the OCA Plaintiffs ultimately show their hand.

With respect to the “main examples” of state laws Republican Party

Appellants identified as endangered by the District Court’s rationale, the

OCA Plaintiffs eagerly agree that federal courts should sweep away

“superfluous     paperwork     requirements”       like    mail-ballot      date

requirements. Id. at 12-13.




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     To effect this bold gambit and its corresponding shift of authority

away from the states, Plaintiffs must point to “exceedingly clear

[statutory] language.” Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2485,

2489 (2021). Yet Plaintiffs do not even attempt to make this showing—

providing the Court yet another basis to reject their position.

     E. Constitutional Avoidance Forecloses Plaintiffs’ Reading.

     If Plaintiffs’ nonsensical and atextual interpretation of the

Materiality Provision is correct, the statute is likely unconstitutional.

Because the Materiality Provision governs both federal and state

elections, Congress could only have enacted it using its powers to enforce

the 14th and 15th Amendments, see Stay Br. 19, a point the OCA

Plaintiffs acknowledge, OCA Opp. 15-16. As the OCA Plaintiffs again

admit, the Court limited the scope of permissible enforcement legislation

in City of Boerne. Id. at 16 (citing City of Boerne v. Flores, 521 U.S. 507,

518 (1997)).    There, the Supreme Court explained that, whenever

Congress enacts prophylactic legislation to “remedy or prevent

unconstitutional actions … [t]here must be a congruence and

proportionality between the injury to be prevented or remedied and the

means adopted to that end.” City of Boerne, 521 U.S. at 519-20. Courts


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must    consult    Congress’s   legislative    “record”   to   identify      what

unconstitutional practices Congress was legitimately targeting. Id. at

530.

       As Republican Party Appellants have explained, the Congress that

enacted    the    Materiality   Provision     was   responding     to   racially

discriminatory practices in voter registration. Stay Br. 8-9. Plaintiffs

have not meaningfully contested that point—nor could they. There is no

evidence that Congress was concerned with states applying voting rules

outside voter registration that served goals unrelated to voter

qualifications—let alone a legislative record showing constitutional

violations occurring in such situations. If Plaintiffs are right that the

Materiality Provision reaches far beyond racially discriminatory voter-

registration practices, the Materiality Provision is likely unconstitutional.

See, e.g., City of Boerne, 521 U.S. at 530-36; Bd. of Trs. of Univ. of Ala. v.

Garrett, 531 U.S. 356, 365-374 (2001) (holding that Americans with

Disabilities Act is not valid prophylactic legislation under congruence-

and-proportionality test).

       The Materiality Provision’s plain text forecloses Plaintiffs’

arguments.       But even if this Court deems the statute ambiguous,


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constitutional avoidance demands reading it to apply only to voter

registration. E.g., Clark v. Martinez, 543 U.S. 371, 380-81 (2005).

                             CONCLUSION

     This Court should stay the District Court’s order pending appeal

and ultimately reverse its atextual and unreasonable interpretation of

the Materiality Provision.




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Dated: December 12, 2023              Respectfully submitted,

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                      Congressional Committee




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                       CERTIFICATE OF SERVICE

     On December 12, 2023, this document was served via CM/ECF on

all registered counsel and transmitted to the Clerk of the Court. Counsel

further certifies that: (1) any required privacy redactions have been made

in compliance with Fifth Circuit Rule 25.2.13; (2) the electronic

submission is an exact copy of the paper document in compliance with

Fifth Circuit Rule 25.2.1; and (3) the document has been scanned for

viruses with the most recent version of a commercial virus scanning

program and is free from viruses.


Dated: December 12, 2023                    /s/ John M. Gore
                                            John M. Gore

                                            Counsel for Intervenors-Appellants




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                 CERTIFICATE OF COMPLIANCE

     This motion complies with: (1) the type-volume limitation of

Federal Rule of Appellate Procedure 27(d)(2)(A) because it contains 2,355

words, excluding the parts of the motion exempted by rule; and (2) the

typeface requirements of Rule 32(a)(5) and the type style requirements

of Rule 32(a)(6) because it has been prepared in a proportionally spaced

typeface (14-point Century Schoolbook) using Microsoft Word (the same

program used to calculate the word count).


Dated: December 12, 2023                   /s/ John M. Gore
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